     Case: 0:16-cv-00149-HRW Doc #: 13 Filed: 02/08/17 Page: 1 of 2 - Page ID#: 73



                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                   ASHLAND DIVISION
                            CIVIL ACTION NO. 0:16-cv-00149-HRW

UNITED STATES OF AMERICA                                                        PLAINTIFF

v.

PHYLLIS J. MORRISON (n/k/a PHYLLIS J. SUTTLES),
CLIFFORD SUTTLES,
LVNV FUNDING, LLC, and
CENTRAL KENTUCKY MANAGEMENT SERVICES                                          DEFENDANTS

                PLAINTIFF’S ANSWER TO COUNTERCLAIM OF
         DEFENDANT, CENTRAL KENTUCKY MANAGEMENT SERVICES, INC.

         Comes now, Plaintiff, United States of America, on behalf of its Department of

Agriculture, Rural Housing Service (“RHS”), by and through counsel, and for its Answer to the

Counterclaim filed by defendant, Central Kentucky Management Services, Inc., a Kentucky

Corporation, assignee of the University of Kentucky Medical Center, states as follows:

         1.   Plaintiff admits to the allegations contained in Paragraph 1.

         2.   Plaintiff admits that Central Kentucky Management Services, Inc., a Kentucky

Corporation, assignee of the University of Kentucky Medical Center, holds a judgment lien on the

subject property. Said judgment lien is subordinate in priority to the first mortgage lien on the

property in favor of the Plaintiff. Plaintiff is without sufficient knowledge to admit or deny the

remaining allegations contained in Paragraph 2.

         WHEREFORE, Plaintiff demands that its lien on the subject real property be adjudged first

and superior in priority to all other liens thereon, and to any other relief which it may be entitled.
 Case: 0:16-cv-00149-HRW Doc #: 13 Filed: 02/08/17 Page: 2 of 2 - Page ID#: 74



                                                              Respectfully Submitted,



                                                              By: /s/ Lauren B. Durham
                                                              Attorney for the Plaintiff:
                                                              James S. Watson/ Lauren B. Durham
                                                              Foreman Watson Holtrey, LLP
                                                              530 Frederica Street
                                                              Owensboro, Kentucky 42301
                                                              Phone: (270)689-2424
                                                              Fax: (270)689-2412




                                     CERTIFICATE OF SERVICE

        I hereby certify that on February 8, 2017, I electronically filed the foregoing with the clerk
of the court by using the CM/ECF system, which will send a notice of electronic filing to the
following:

       Central KY Management Services, Inc., c/o John Oakley

        I further certify that on February 8, 2017, I mailed the foregoing documents by first class
mail to the following non-CM/ECF participants:

       Phyllis J. Morrison
       5526 Stinson Fork
       Rush, Kentucky 41168

       Clifford Suttles
       5526 Stinson Fork
       Rush, Kentucky 41168

       LNNV Funding
       625 Pilot Road, Suite 3
       Las Vegas, Nevada 89119


                                                              /s/ Lauren B. Durham
                                                              Lauren B. Durham
                                                              Foreman Watson Holtrey, LLP
                                                              Attorney for Plaintiff
